     Case 2:08-cr-00311-MMD-GWF                    Document 330     Filed 06/10/11             Page 1 of 5
                  .

      j                                                               - - - --
                                                                                 yjyj,
                                                                                 ENTERED
                                                                                                       yyyyyyyy i
                                                                                                 -----SEp7E
                                                                                           cpkNî           a pN
                                                                                                6giil-iîl
                                                                                                        ks9rqlcaan
     1 DANIBI-(J.BoGoy,N                                                             ,-
             United statesAttom ey                                                  dU$ 7û 2041
     2 KIM BERLY M :FRAYN
     3 AOrsga
           sistantUnited SttesAttorney
              nized Crim e Strike Force
                                                                                 gjkyy jgat
                                                                                          grjjjyyçryjy
                                                                                           .
                                                                                                                         r
                                                                                                                         ,'
        U oyd D ceorgeFederalCourthouse                              gy            DlSrRl(lrOFt4Ln;gùL
     4 333LaswVegasBoulevard South, Suite 5000                         :                          --   (
                                                                                                       IIPIJ'
                                                                                                            J
                                                                                                            -Y           :
                                                                                                                         :
                                                                                                                         1
        LasVegas,Nevada89101                                                                                -            i
     5 Teltphone:(702)388-6336                                                                                           ''
     6                                    UNITED STATES DISTRICT COURT                                               1
                                                                                                                     1
                                                                                                                     1
                                                                                                                     '
     7                                             D IST RICT O F N EVA DA                                           .
     8 UNITED STATESOFAM ERICA,                               )
                                                              )
     î4                           làlflirttifïr,              )                                                          5j
                                                              )                                                           )
                                                                                                                          '
    10 H&>ö6
          v.                                                  )         2:08-CR-31I-RI-H-GWF !
    11                 PALIKYAN ,                             )                                                               !
                                                                                                                              I
          fe                                                  )
    12 -                          Defendant.                  )                                                          .I
    13                PETITION STIPULATION FOR RETURN OFPROPERTY AND ORDER                                           1
                                                                                                                     j   i
                                                                                                                              i
    14                TheUnitedStatesofAmerica,byandthroug,hitsundersignedcounsel, herebystipulatesand 1
                                                                                                       .
                                                                                                                         '
                                                                                                                              h
                                                                                                         I               .
                                                                                                                              i
    15 agreeswithVictoriaBerberian,asfollows:                                                            !               .
                                                                                                                              i
    16                1    On M mch 3,2011,A nnan Palikyan pled guilt'
                                                                     y to violationsofTitle 18, United States
                                                                                                                              1
                       .                                                                                                      !
    17 Code,Section1029(A)(1),TraffickinginCounterfeitAccessDevices;Title18,UnitedStatesCode,                            ''
    18 Sectionsl028(A(a)(1)andtclt4lj/tggravatedIdentit'yThen'
                                                             ,andTitle18,UnitedStatesCode,Stction
    19 1956(h),Conspiraoy to CommitM oneyLaundering;andagreedto the forfeitureofproperty named
    20 in the Forfeiture Allegation ofthe Second Superseding Crim inalIndictm ent. #103.                                 )
                                                                                                                         I
'
    21        2. On M arch 3,20ll,the Courttntered the Prelim inary O rderofForfeitare.(//291),in                        :
    22 which AI'I'
                 JIM Palikygnforfeited tothe United Statesproperty thatwasrtfertnced inthej
                                                                                          'Forfeiture                    '
    23 A llegationsoftheSecond Superseding Crim inalIndictm entpursuantto Title l8,UnitellSsatesCode,                    ;
    24 Section981(a)(1)(A)andTitle28,UnitedStatesCode,Section246l(c);Title18,UnitedStatesCode,
    25 Section981(a)(1)(C),Title28,UnitedStatesCode,Stçtion2461(c),andTitle18,UnitedStatesCode,
    26 Sections1956(c)(7)(A)and 1961(1)(B);Titlel8,United StalesCode,Section982(a)(1);Title l8,
                                                                                                                         I

         ;                                                                                                               :

      I                                                                                                  i
                                                                                                         I
                                                                                                         i
 Case 2:08-cr-00311-MMD-GWF               Document 330        Filed 06/10/11     Page 2 of 5



                                                                                                               :.

                                                                                                               !
                                                                                           !
 1! UnitedStatesCodt)Sedion932(a)(2)(B);Titlel8,UnitedStatesCode,Section1029(c)(1)(C);antl i
     i                                                                                                     t
 2'
  jTitle21,UnitedSutesCode,Section853(p).                                                                  ! y
                                                                                                           1 :
 3l              3.    VictoriaBerberian pefitionsthatthe2008 BlackM eroeadtsBenz G-500 W a'
                                                                                           gon,VlN: 1
                                                                                                    2 I
                                                                                                    . l
                                                                                                           k
 4 W 12/4:251.
             49E38X 171546,which wasinthepossession ofdefendantArman Palik'
                                                                          yan attlletimeof
                                                                                                               :
 5 his arrest,be retum ed to Vidoria Bcrberian,who is the owner ofthe vehicle, whioh rsturn shall j
                                                                                           .
                                                                                                           1 i
 6 constim te fullsatisfaction ofa1lcosts, fets,att
                                                  orney'sfees,andotht'rexpensesastotheUnltedStates, j          :
                                                                                                           I
 7 under28U.S.C.j1746.Byhersigngturebelow,VictoriaBerbeliandeclares,cetilies,verities,and I
 8 statestmderpenaltyofpezjurypmsuantto28IJ.S.
                                             C.j1746tbattheforegoingknparagraph3îstrue i
                                                    .
                                                                                          l .
 9 ' and correct.                                                                                              '
Iû               4.    The2002BlackM ercedesBenzG-500 W agon,VIN ;W DCYR49E38X171546, ts
                                                                                       %the
11 propertf')isforfeitedtotheUnitedStatesofAmerica.
                                                                                                               I
12               5.    Victoria Berberian knowingly and voluntarily agreesto tbe abandomnent, thecivil         I
                                                                                                               j
     '
     j                                                                                                         )
131 administrativeforfeiture,theoiviljudicialforfeiture,orthecliminalfod-
                                                                        eitureoftheproperty,
14
     I           6.    VictoriaBerberian knowingly and voluntarilyagreestorelinquisha1Irigld,
15Ii                                                                                            litl
                                                                                                   e,and
     lnterestintbepropert
                        y.                                                                                     :
16               7.    V ictoria Berbelian knowingly and voluntarily agrees to w aive her right to any         .


17 abandonmentpreoetdings, anyciviladministrativeforfeimreprooeedings,anyciviljudicialforfthure l
                                                                                                j
18                                                                                              l
   proceedings,oranycriminalforfeitureproçtedinps(dlproceedings'')oftheproperty.         h
                                                                                         i
19         8. VictoriaBerberianknowinglyandvoluntarilyagreestowaiveserviçeofprocessofany l
                                                                                         !

20 andal1documentsfiledinthisactionoratlyproceedingsconcerningthepropertyarisingfrom thefacts
21 and cirçum stancesofthis case.                                                                              )
                                                                                                               1
22               9.    VictoriaBerberianknowinglyandvoluntarilyagreestowaiveanyfurthernoticetoher,             è
                                                                                                               '
23 heragents,orherattorneyregardingtheabandonmentortheforfeitureanddispositionoftheproperty.
24               10, Vlctoria Berberian knowingly and voluntarily agreesnotto llle any claim , answer,         l
25 petition,orotherdocumentsin anyproceedingsconcerningtheproperty          .
                                                                                                               k


26       . . .                                                                                                 i


     î
     h                '                                 2                                   2
                                                                                            j                  .

                                                                                            1
                                                                                            I
Case 2:08-cr-00311-MMD-GWF              Document 330       Filed 06/10/11     Page 3 of 5




              11. VictoriaBerberian knowinglyandvoluntazilyagreesto withdraw any claim s,answers,
      cotmterclaims,petitions,orotherdoctmwntsittiled in any proceedingsçoncerning thepmperty.
             12. V ictoriaBerberianknow inglyandvoluntarily agreestowaivethestatuteot-lim itations.
      tlw CAFRA rtquirem ents,Ftd.R,Crim .P.7 and 32.2,tht Jonstim tionalrtquirem enls, arid tlw
  '

      çonsîim tionaldue processrequirementsof,nyabandonm entprocceding orany forfeiture proçeeding
      concerning theproperty.
             l3. VictoriaBerberianknowinglyandvolunurilyagretstewaiveherrighttoajurytrial
      ontheforfeitureoftheproperty.                                                       (
             l4. VictoriaBerberianknowinglyandvoltlmarilyagreestowaive(a)a11conttitutional,
                                                                                          j
      ltgal, andequi
                   ubledefensesto,(b)mzyconstitutionalorstatusorydoublejeopardydefenqieorclaim
                                                                                          q
      kmncerning,and(c)any claim erdefensetmdertheEighthAmendmentfotheUnitedStates
      Constim tion,including,butnotlim ited to,anyclaim ordefense ofexcessive tinein any proçeedings
  vonfxrning the property.
             15. Victoria Berberian knowlngly and voluntarily agrees to the entry ofan Orderef
  Foribitm e oftbe proptrtyto theU nhed States.
             16. VictoriaBerbelianknowinglyandvolkmtarilyagreesandtmderstandstlw abandomnent,
  tlleciviiadministrativeforfeihlre,theciviljudicialforfeîttlre,ortllecriminalforfeîtureoftheproperty
  shallnotbe treated ms satisfaction of any assessm ent, fine,restisutlon,costofim prisomnent, orany
  otherpenalty this Courtm ay im pose upon tlw D efendantin addition to the abandonm ent or the
  forfeiture.
             l7. A ttertheproperty isforfeited w hh aFinalOrderofForfeim rein thiscrim inalcaseand
  the United StatesD istrictCourthassigned thisPetition and Stipulasion forReturn ofProperty and
  Orderooncem ingtheProperty,within apr4cticabletimethereafterfortheUnitedStates, theUnited
  States know ingly and voluntarily agrees the United States w illtransfer tht property to Victoria
  Berberian.TheU nited Statestm derstandsand V ictoriaBerberian agreesto pay allofthecostsforthe
  storageand towing oftbe2008BlavkM ertedesBenzG-50Q W agon, Vm :W D CYR49E3%X l71546,

                                                   3
Case 2:08-cr-00311-MMD-GWF            Document 330        Filed 06/10/11      Page 4 of 5




  beforethereleaseofthepropertyto VictoriaBerberian. Aftertheproperty isretunwd to Victoria
  Berberianyshe w illstillhave a11ofherrem edies againstthe Defendantbutno rem edies againstthe
  United States.VictoliaBerberianacknowledgeswiththeexeoutionofthisdocumentthatsheaccepts
  the vehicle in $$asis''oondition.
           18. V iotoriaBerberian knowingly and voluntarily agreesto the condltionssetfclrth in this
  Pctitionand Stipulation forReturn ofProperty andOrder(ttstipulation'),
           19. Victoria Berberian knowingly and voluntarily agreesto hold harmlesstlw United
  States,theUnited StatesDepartmentofJustice,theLnitcd StatesAttorney'sOfticefortheDistrict
  ofNevadaatheUnited StatesSecretSerdce,theirageacies, theiragents,artdtheirem ployeesfrom any
  claim madeby heroranythird partymisingoutofthefactsand circumsuncesofthiscase            .



          20. V ictoria Berberian releasesand foreverdischargesthe United Statts ofAm erica: the
  United StatesDepartmentofJustice,theUnited SttesAttorney'sOfriceforthcDistrictofNevada,
  the United StatesSttre:Strvict,theiragencies, thelragents,and Sheir employeesfrem any and a11
  claims,riglzts,orcausesofaction ofanykind thatVictariaBerberiannow hasormayherealterhave
  on accotmtof,orin any way grow ing outof,the seizure of-the property.
          21, Each pal'ty acknow tedgesand wm am sthatitsexecution oftbeStipulation isfreeand
  isvoltlm ary.
          22- The Stipulation containsthe entire agreçm entbelw een the parties.
          23. Except as expressly stated in tbe Stipulatien, no party,offcer,agent,employee,
  represcntative,orattom ey hmsm adc any sG tem entorrepresentation to any other party, persenyor
  entit'
       y regarding any fact relied upon in entering into the Stipulation, and no party,offiçer,agent,
  em ployce,representative,or attorney relies on suoh statem ent or representation in executing the
  Stipulation.

          24. ThepersonssigningtheStipulationwan'
                                                aritandrepresentthattheyhavefullauthoril
  to execute the Stipulation and to bind thepersons and/orentities, on whose behalfthey are signing.
  to the term softlle Stipulation.

                                                  4
                Case 2:08-cr-00311-MMD-GWF        Document 330       Filed 06/10/11       Page 5 of 5




            1          25. n lsStipulation shallbecons% ed arld interpreted accordingto federalforfeimre Iaw

            2 andfederalcommon law.Thejarigdiction andthevenueforanydisputerelatedto,and/orarising
            3 from ,tbisStipulation isthe unoflioialSouthel'n Division oftheUnited SutesDistriçtCoulllbrthe
            4 DistrictofNcvada,locatedinLasVegas,Nevada.                                                           $
            5i         26. Each party shallbearitsown attom eys'fees,expenses,intercst,and cojts.
            6          27, ThisStipulation shallnotbeconstrued morestrlctlyagainstonepartythan agwinstthe
            7 otilerm erely by virtucofthefactthatitm ay havebeen prepared primarily bycounselfproneofthe
            8 parties; ût ls recognized that botll padies havt contributed substantially and m aterially to thg
            9 prcparation ofthisStipulation.
           10          IT ISHEREBY CERTIFIED,ptlrsuantto28U.S.C,j2465(a)(2),thattberewasreasonable
           11 causc fortllc scizurq ofthcproperty.
           12 DATED:h171//                                        oa-
                                                                    rss,                  /?
           13 LAW OFSICE OF            X R.KESSEL                 DANIEL G.BOGDEN
                                                                  U nited  sA ttorney
           14
           j5                                          --
                   X R. SS L                                      K1 B lU.     : RA
           16 Attorney forPe tioner ict ' erberian,               AssistantU ted StatesA       rney
           17 DA TED :                                                                                j
                           ,.                                                                         (
           18                                                                                         E
           19                       -.
                 V     IU A B E   ERIAN
           20
           21
l          22                                                     IT IS SO ORDERED:
i
i          23
           24                                                            /
           2s                                                     UNITED STARY% S DISTRJCT            DGE
           26                                                     DATED: & (t%12.
                                                                                5 4t 1.
                                                                                                                   '
                                                                                                                   4
                                                                                                                   .

             '
                                                              5
             j
    C d 9:z:090:t1 '*N/9#:#k'lS/9#:#k k#03 e d?H(;aM)                                                       Hodd
